~AO   2450   (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT
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                                                          Southern District of Illinois                              Cl.~ AilS 16 ?nnn...
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        UNITED STATES OF AMERICA                                         Judgment in a Criminal Case                  ~ Dis~/S"''Y/C
                   v.                                                    (For Revocation of Probation or Supervised Relea~fOtv 1Jc.,.oJ COU/Y
                                                                                                                                    'F:f:IC~ 1((ltv .,
                JAMES A. GOLDEN                                                                                                                    O'S

                                                                         Case No. 4:03cr40059-002
                                                                         USM No. 06187-025
                                                                           Judith A. Kuenneke, AFPD
                                                                                                  Defendant's Attorney
THE DEFENDANT:
r¥' admitted guilt to violation of condition(s)         as alleged below                  of the term of supervision.
o   was found in violation of condition(s)             _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.

The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                              Violation Ended
Statutory                       The defendant tested positive for cocaine                                     07/04/2009



Standard # 1                    The defendant failed to call On Site Drug Testing



       The defendant is sentenced as provided in pages 2 through              2     of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economIc cIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4069

Defendant's Year of Birth:          1950

City and State of Defendant's Residence:
Carbondale, IL

                                                                               "                 Name and Title of Judge
                                                                                                                         District Judge



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                                                                                                          Date   I
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 AO 245D        (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                   Judgment -   Page   2    of   2
 DEFENDANT: JAMES A. GOLDEN
 CASE NUMBER: 4:03cr40059-002


                                                                    IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
24 months BOP




      o     The court makes the following recommendations to the Bureau of Prisons:




      'it   The defendant is remanded to the custody of the United States Marshal.

      o     The defendant shall surrender to the United States Marshal for this district:
            o     at   _________ 0                          a.m.      o    p.m.    on
            o    as notified by the United States Marshal.

      o     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            o     before 2 p.m. on
            o    as notified by the United States Marshal.
            o    as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

 I have executed this judgment as follows:




            Defendant delivered on                                                      to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                                  By
                                                                                             DEPUTY UNITED STATES MARSHAL
